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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRIC          SA1             tO:   L4J
                                  AUSTIN DIVISION
                                                                       AA
UMG RECORDINGS, INC., CAPITOL
RECORDS, LLC, WARNER BROS.
RECORDS INC., SONY MUSIC
ENTERTAINMENT, ARISTA
RECORDS LLC, ARISTA MUSIC,
ATLANTIC RECORDING
CORPORATION, CAPITOL
CHRISTIAN MUSIC GROUP, INC.,
ELEKTRA ENTERTAiNMENT GROUP
INC., FONOVISA, INC., FUELED BY
RAMEN LLC, LAFACE RECORDS
LLC, NONESUCH RECORDS INC.,
RHINO RECORDS, INC., ROC-A-
FELLA RECORDS, LLC, TOOTH &
NAIL, LLC, ZOMBA RECORDING LLC,
                  PLAINTIFFS,

 V.                                                   CAUSE NO. A-17-CV-365-LY

 GRANDE COMMUNICATIONS
 NETWORKS LLC, AND PATRIOT
 MEDIA CONSULTING, LLC,
                DEFENDANTS

                                           IJ 1   0

       IT IS HEREBY ORDERED that Plaintiffs' Opposed Motion to Extend Deadline to

Respond to Defendant Grande Communications Networks LLC's Motion for Summary Judgment

filed August 27,2018 (Clerk's Document No. 150) and Defendant's Response to Plaintiffs' Opposed

Motion to Extend Deadline to Respond to Defendant Grande Communications Networks LLC's

Motion for Summary Judgment filed August 28,2018 (Clerk's Document No. 151) as well as any
          Case 1:17-cv-00365-LY Document 153 Filed 08/29/18 Page 2 of 2



reply that may be filed are REFERRED to United States Magistrate Judge Andrew Austin for

disposition.   See   28 U.S.C.   §   636(b)(1)(A), Fed. R. Civ. P. 72; Loc. R. W. D. Tex. Appx. C, Rule

1(d).

        SIGNED this              911/ day of August, 2018.




                                                   LEE YE1kKEL
                                                                        c4t
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                                                   UNITED STATES DSTRICT JUDGE




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